          Case 1:05-cv-04149-LAP Document 38
                                          35 Filed 10/15/20
                                                   10/14/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JOSE STRUGO,                                                            :
                                                                        :
                                             Plaintiff,                 :   ORDER OF
                                                                        :   SATISFACTION OF
                              -against-                                     JUDGMENT
                                                                        :
THE REPUBLIC OF ARGENTINA,                                              :
                                                                        :   05-cv-04149 (LAP)
                                             Defendant.                 :
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        WHEREAS, on October 27, 2009, the Court entered a final judgment, ECF No. 22, (the

“Final Judgment”) against the Republic of Argentina (the “Republic”) and in favor of the plaintiff

José Strugo with respect to beneficial interests on certain defaulted bonds issued by the Republic

(the “Bonds”);

        WHEREAS, plaintiff has settled his claims and accordingly no longer holds any interest

in the Bonds that are subject of the above-captioned case.

        NOW, THEREFORE, full satisfaction of the Final Judgment is hereby acknowledged and

the Clerk of the Court is hereby authorized and directed to make an entry of full satisfaction

on the docket.


SO ORDERED:


________________________
United States District Judge
Dated: October 15 , 2020
